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                          EXHIBIT 1
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  ‭Via Email‬                                                                     ‭ ew York‬
                                                                                  N
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                                                                          ‭March 20, 2024‬


 ‭Re:‬     ‭State of Texas et al. v. Google LLC‬‭, No. 4:20-cv-957-SDJ (E.D. Tex.)‬


 ‭Counsel:‬
            I‭ ‬ ‭write‬ ‭in‬ ‭connection‬ ‭with‬ ‭Plaintiffs’‬ ‭30(b)(6)‬ ‭Notice‬ ‭to‬ ‭Google,‬ ‭which‬ ‭we‬ ‭have‬ ‭been‬
 ‭struggling‬ ‭to‬ ‭make‬ ‭sense‬ ‭of‬ ‭and‬ ‭respond‬ ‭to.‬ ‭To‬ ‭that‬ ‭end,‬ ‭this‬ ‭letter‬ ‭summarizes‬ ‭some‬ ‭of‬ ‭the‬
  ‭many‬ ‭problems‬ ‭with‬ ‭the‬ ‭Notice,‬ ‭which‬ ‭make‬ ‭it‬ ‭literally‬ ‭impossible‬ ‭to‬ ‭satisfy,‬ ‭and‬ ‭proposes‬ ‭a‬
   ‭reasonable‬ ‭and‬ ‭proportional‬ ‭compromise.‬ ‭We‬ ‭look‬ ‭forward‬ ‭to‬ ‭having‬ ‭a‬ ‭productive‬ ‭meet‬ ‭and‬
    ‭confer confined to proper topics that are reasonable in scope.‬

           ‭Plaintiffs’ 30(b)(6) Notice is remarkably broad and phenomenally burdensome.‬

                    ‭Topics‬ ‭overlap‬ ‭and‬ ‭potentially‬ ‭duplicate‬ ‭one‬ ‭another,‬ ‭making‬ ‭the‬ ‭Notice‬ ‭extremely‬
 d‭ ifficult‬ ‭to‬ ‭parse.‬ ‭For‬ ‭example,‬ ‭Topic‬ ‭23‬ ‭demands‬ ‭a‬ ‭witness‬ ‭to‬ ‭provide‬‭testimony‬‭“[f]or‬‭each‬
  ‭Google‬ ‭Ad‬ ‭Tech‬ ‭Product‬ ‭and‬ ‭Ad‬ ‭Tech‬ ‭Auction‬ ‭Mechanic,‬‭the‬‭structure,‬‭architecture,‬‭function,‬
   ‭operation,‬‭integration,‬‭and‬‭implementation‬‭and‬‭associated‬‭Documents,‬‭Source‬‭Code,‬‭dashboards,‬
    ‭and‬ ‭data.”‬ ‭In‬ ‭addition‬ ‭to‬ ‭being‬ ‭exceedingly‬ ‭broad‬ ‭and‬ ‭requiring‬ ‭a‬ ‭witness‬ ‭to‬ ‭be‬ ‭prepared‬ ‭to‬
     ‭testify‬‭about‬‭any‬‭document,‬‭source‬‭code,‬‭dashboard,‬‭and/or‬‭data‬‭“associated”‬‭with‬‭any‬‭Ad‬‭Tech‬
      ‭Product,‬ ‭the‬ ‭topic‬ ‭also‬ ‭appears‬ ‭to‬ ‭encompass‬ ‭(and‬ ‭yet‬ ‭also‬ ‭be‬ ‭broader‬ ‭than)‬ ‭a‬ ‭litany‬ ‭of‬ ‭more‬
       ‭specific‬ ‭topics‬ ‭on‬ ‭particular‬ ‭products‬ ‭and‬ ‭optimizations.‬ ‭See,‬‭e.g.‬‭,‬‭Topics‬‭98-103.‬ ‭As‬‭another‬
        ‭example,‬ ‭Topic‬ ‭78‬ ‭calls‬ ‭for‬ ‭testimony‬ ‭on‬ ‭“[t]he‬ ‭effects‬‭of‬‭each‬‭Ad‬‭Tech‬‭Auction‬‭Mechanic‬‭on‬
         ‭AdX‬‭exchange‬‭floors,‬‭on‬‭bids‬‭from‬‭Google‬‭Ads,‬‭on‬‭Google’s‬‭fees,‬‭revenue‬‭share,‬‭margins,‬‭and‬
          ‭take-rates,‬‭and‬‭on‬‭second‬‭bids‬‭on‬‭non-competitive‬‭queries.”‬ ‭Parts‬‭of‬‭this‬‭language‬‭are‬‭repeated‬
           ‭in‬‭(and‬‭therefore‬‭duplicative‬‭of)‬‭Topics‬‭80‬‭(“The‬‭effects‬‭of‬‭each‬‭Ad‬‭Tech‬‭Auction‬‭Mechanic‬‭on‬
            ‭AdX exchange floors”); 82, 83, 84, and 85.‬
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                ‭Several‬ ‭topics‬ ‭are‬ ‭irrelevant.‬ ‭For‬ ‭example,‬ ‭Topic‬ ‭35:‬ ‭“The‬ ‭location‬ ‭and‬ ‭address‬ ‭of‬‭all‬
 f‭ acilities‬‭owned‬‭or‬‭operated‬‭by‬‭You‬‭anywhere‬‭in‬‭the‬‭United‬‭States‬‭and‬‭the‬‭activities‬‭at‬‭each‬‭such‬
  ‭location‬ ‭related‬ ‭to‬ ‭the‬ ‭Ad‬ ‭Tech‬ ‭Products‬ ‭or‬ ‭Ad‬ ‭Tech‬ ‭Auction‬ ‭Mechanics.”‬ ‭Others‬ ‭relate‬ ‭to‬
   ‭claims‬ ‭that‬ ‭have‬‭been‬‭dismissed,‬‭for‬‭example‬‭Topic‬‭36:‬‭“Your‬‭decision‬‭to‬‭deprecate‬‭third-party‬
    ‭cookies‬‭in‬‭Chrome‬‭and/or‬‭Android,‬‭implement‬‭FLEDGE‬‭(‘First‬‭Locally-Executed‬‭Decision‬‭over‬
     ‭Groups‬ ‭Experiment’),‬ ‭the‬ ‭Privacy‬ ‭Sandbox,‬ ‭and/or‬ ‭Protected‬ ‭Audience‬ ‭API,‬ ‭and‬ ‭the‬
      ‭consequences‬ ‭and‬ ‭effects‬ ‭thereof,‬ ‭including‬‭any‬‭analysis‬‭of‬‭the‬‭impact‬‭of‬‭such‬‭deprecation‬‭and‬
       ‭implementation,‬ ‭including‬ ‭but‬ ‭not‬ ‭limited‬ ‭to‬ ‭the‬ ‭impact‬ ‭on‬ ‭Publisher‬ ‭revenues‬ ‭and‬ ‭the‬ ‭DSP‬
        ‭market.”‬

                 ‭Many‬ ‭of‬ ‭the‬‭topics‬‭are‬‭obviously‬‭inappropriate‬‭as‬‭30(b)(6)‬‭topics,‬‭and‬‭appear‬‭to‬‭instead‬
 b‭ e‬ ‭data‬ ‭or‬ ‭document‬ ‭requests‬ ‭or‬ ‭requests‬ ‭for‬ ‭Google‬ ‭to‬ ‭estimate‬ ‭or‬ ‭create‬ ‭counterfactual‬
  ‭analyses.‬ ‭For‬‭example,‬‭Topic‬‭98(g):‬‭“the‬‭number‬‭of‬‭transactions‬‭and‬‭impressions‬‭transacted‬‭on‬
   ‭and‬ ‭the‬ ‭number‬ ‭and‬ ‭identify‬ ‭of‬ ‭every‬ ‭Publisher‬ ‭transacting‬ ‭on‬ ‭AdX‬ ‭on‬ ‭a‬ ‭monthly‬ ‭basis‬ ‭from‬
    ‭January‬ ‭1,‬ ‭2012‬ ‭to‬ ‭the‬ ‭present‬ ‭in‬ ‭which‬ ‭the‬ ‭implementation‬ ‭or‬ ‭operation‬ ‭of‬ ‭DRS‬ ‭resulted‬ ‭in‬
     ‭exchange‬ ‭fees‬‭for‬‭publisher‬‭inventory,‬‭or‬‭Your‬‭take‬‭rates,‬‭margins,‬‭or‬‭revenue‬‭shares,‬‭that‬‭were‬
      ‭higher‬ ‭than‬ ‭they‬ ‭otherwise‬ ‭would‬ ‭have‬ ‭been‬ ‭had‬ ‭DRS‬ ‭not‬‭been‬‭implemented‬‭or‬‭in‬‭operation.”‬
       ‭Topic‬ ‭104(a):‬ ‭“the‬ ‭monthly‬ ‭share‬ ‭of‬ ‭impressions‬ ‭and‬ ‭revenue‬ ‭served‬ ‭by‬ ‭DFP‬ ‭or‬ ‭transacted‬
        ‭through‬ ‭AdX,‬ ‭as‬ ‭well‬ ‭as‬ ‭the‬ ‭monthly‬ ‭share‬ ‭of‬ ‭impressions‬ ‭transacted‬ ‭by‬ ‭and‬ ‭revenue‬ ‭for‬ ‭any‬
         ‭other Publisher Ad Server, Ad Exchange, or Ad Network or through Header Bidding.”‬

               ‭Many‬ ‭other‬ ‭topics‬ ‭purport‬ ‭to‬ ‭improperly‬ ‭require‬ ‭Google‬ ‭to‬ ‭do‬ ‭Plaintiffs’‬ ‭fact‬
 i‭nvestigation‬ ‭for‬ ‭them.‬ ‭For‬ ‭example:‬ ‭Topic‬ ‭101(b):‬ ‭“the‬ ‭number‬‭and‬‭identity‬‭of‬‭all‬‭Publishers‬
  ‭whose‬‭exchange‬‭floors‬‭were‬‭affected,‬‭altered,‬‭changed,‬‭manipulated‬‭or‬‭overridden‬‭as‬‭a‬‭result‬‭of‬
   ‭RPO‬‭from‬‭January‬‭1,‬‭2013‬‭to‬‭the‬‭present”‬‭and‬‭Topic‬‭101(c):‬‭“the‬‭number‬‭of‬‭transactions‬‭on‬‭AdX‬
    ‭on‬‭a‬‭monthly‬‭basis‬‭from‬‭January‬‭1,‬‭2013‬‭to‬‭the‬‭present,‬‭in‬‭which‬‭an‬‭Advertiser‬‭paid‬‭more‬‭for‬‭an‬
     ‭ad/impression‬ ‭than‬ ‭they‬ ‭otherwise‬ ‭would‬ ‭have‬ ‭if‬ ‭RPO‬ ‭had‬ ‭not‬ ‭been‬ ‭operational‬ ‭or‬ ‭in‬ ‭effect.”‬
      ‭Google‬‭has‬‭no‬‭obligation‬‭to‬‭do‬‭Plaintiffs’‬‭work‬‭for‬‭them‬‭or‬‭provide‬‭30(b)(6)‬‭testimony‬‭on‬‭such‬
       ‭requests.‬

               ‭Still‬‭other‬‭topics‬‭call‬‭for‬‭expert‬‭testimony‬‭and/or‬‭legal‬‭conclusions.‬ ‭For‬‭example,‬‭Topic‬
 7‭ 7‬ ‭demands‬ ‭that‬ ‭Google‬ ‭prepare‬ ‭a‬ ‭witness‬ ‭to‬ ‭testify‬ ‭regarding‬ ‭“Google’s‬ ‭market‬ ‭share‬ ‭in‬ ‭the‬
  ‭display‬‭advertising‬‭and‬‭ad‬‭server‬‭industry,”‬‭a‬‭topic‬‭that‬‭obviously‬‭calls‬‭for‬‭both‬‭expert‬‭testimony‬
   ‭and‬‭legal‬‭conclusions‬‭(additionally,‬‭this‬‭topic‬‭has‬‭five‬‭extremely‬‭detailed‬‭subparts‬‭that‬‭purport‬‭to‬
    ‭require‬ ‭Google‬ ‭to‬ ‭generate‬ ‭data‬ ‭to‬ ‭respond‬ ‭to‬ ‭the‬ ‭request,‬ ‭e.g.‬‭,‬ ‭“volume‬ ‭of‬ ‭impressions,‬‭gross‬
     ‭revenue‬‭transacted‬‭.‬‭.‬‭.‬‭broken‬‭down‬‭by‬‭region‬‭including‬‭North‬‭America‬‭and‬‭the‬‭United‬‭States‬‭as‬
      ‭well as for all Plaintiff States.”).‬

              ‭Yet‬ ‭more‬ ‭topics‬ ‭are‬ ‭so‬ ‭broad‬ ‭and‬ ‭demand‬ ‭such‬ ‭detail‬ ‭that‬ ‭it‬ ‭would‬ ‭be‬ ‭impossible‬ ‭to‬
 p‭ repare‬‭a‬‭30(b)(6)‬‭witness‬‭to‬‭testify‬‭on‬‭a‬‭single‬‭one‬‭of‬‭them‬‭within‬‭the‬‭remaining‬‭fact‬‭discovery‬
  ‭period,‬ ‭let‬ ‭alone‬ ‭prepare‬‭witnesses‬‭to‬‭testify‬‭on‬‭the‬‭entirety‬‭of‬‭Plaintiffs’‬‭Notice.‬ ‭For‬‭example,‬
   ‭Topic‬ ‭39:‬ ‭“All‬ ‭marketing,‬ ‭advertising,‬ ‭commercialization,‬ ‭public-facing‬ ‭statements,‬ ‭and‬
    ‭promotion‬‭related‬‭to‬‭each‬‭of‬‭the‬‭Ad‬‭Tech‬‭Products‬‭and/or‬‭Ad‬‭Tech‬‭Auction‬‭Mechanics,‬‭including‬
     ‭without‬ ‭limitation‬ ‭external‬ ‭presentations,‬ ‭internal‬ ‭presentations,‬ ‭customer‬‭documentation,‬‭sales‬
      ‭brochures,‬ ‭promotional‬ ‭materials,‬ ‭trade‬ ‭show‬ ‭packets,‬ ‭sale‬ ‭forecasts,‬ ‭customer‬ ‭acquisition‬
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 s‭ trategies,‬ ‭competitor‬ ‭analyses,‬‭Internet‬‭websites,‬‭Help‬‭Center‬‭updates,‬‭blog‬‭posts,‬‭articles,‬‭and‬
  ‭social‬‭media‬‭postings,‬‭including‬‭any‬‭internal‬‭discussions‬‭regarding‬‭whether,‬‭to‬‭what‬‭extent,‬‭and‬
   ‭with‬ ‭whom‬ ‭You‬ ‭should‬ ‭disclose‬ ‭or‬ ‭externally‬ ‭discuss‬ ‭such‬ ‭Ad‬ ‭Tech‬ ‭Products‬ ‭and/or‬ ‭Ad‬ ‭Tech‬
    ‭Auction‬ ‭Mechanics.”‬ ‭It‬ ‭would‬ ‭be‬ ‭impossible‬ ‭to‬ ‭prepare‬ ‭a‬ ‭witness‬ ‭to‬ ‭speak‬ ‭to‬ ‭every‬ ‭single‬
     ‭statement,‬‭“internal‬‭presentation,”‬‭sales‬‭forecast,‬‭website,‬‭etc.‬‭relating‬‭to‬‭any‬‭Ad‬‭Tech‬‭Product‬‭or‬
      ‭Auction‬‭Mechanic.‬ ‭Similarly,‬‭Topic‬‭47:‬‭“Google’s‬‭internal‬‭discussions‬‭regarding‬‭each‬‭Ad‬‭Tech‬
       ‭Auction‬ ‭Mechanic,‬ ‭including‬ ‭Google’s‬ ‭understanding‬ ‭of‬ ‭the‬ ‭effects‬ ‭of‬ ‭the‬ ‭Ad‬ ‭Tech‬ ‭Auction‬
        ‭Mechanic‬ ‭on‬ ‭Publishers,‬ ‭Advertisers,‬ ‭Google,‬ ‭and‬ ‭the‬ ‭broader‬ ‭‘ecosystem’;‬ ‭Your‬ ‭decision‬
         ‭whether‬ ‭or‬ ‭not‬ ‭(and‬ ‭if‬ ‭so,‬ ‭when)‬ ‭to‬ ‭disclose‬ ‭the‬ ‭Ad‬ ‭Tech‬ ‭Auction‬ ‭Mechanic‬ ‭to‬ ‭Publishers,‬
          ‭Advertisers,‬ ‭and‬ ‭third-parties,‬ ‭the‬ ‭extent‬ ‭of‬ ‭such‬ ‭disclosure,‬ ‭and‬ ‭Your‬ ‭reasoning‬ ‭or‬ ‭rationale‬
           ‭regarding‬‭such‬‭decisions.”‬ ‭It‬‭would‬‭be‬‭impossible‬‭to‬‭prepare‬‭a‬‭witness‬‭to‬‭testify‬‭regarding‬‭every‬
            ‭single‬ ‭“internal‬ ‭discussion”‬ ‭relating‬ ‭to‬ ‭each‬‭Ad‬‭Tech‬‭Mechanic,‬‭let‬‭alone‬‭also‬‭testify‬‭regarding‬
             ‭an‬‭“understanding”‬‭of‬‭the‬‭“effects”‬‭of‬‭every‬‭Mechanic.‬ ‭Also,‬‭Topic‬‭56:‬ ‭“Whether‬‭You‬‭ran‬‭live‬
              ‭experiments‬ ‭on‬ ‭auction‬ ‭participants,‬ ‭whether‬ ‭you‬ ‭notified‬ ‭the‬ ‭auction‬ ‭participants‬ ‭of‬ ‭these‬
               ‭experiments‬ ‭and‬ ‭how‬ ‭they‬ ‭were‬ ‭notified,‬‭and‬‭if‬‭live‬‭experiments‬‭were‬‭run,‬‭the‬‭type,‬‭scope‬‭and‬
                ‭description‬ ‭of‬‭the‬‭experiments‬‭run,‬‭the‬‭percentage‬‭of‬‭traffic‬‭or‬‭‘slices’‬‭on‬‭which‬‭they‬‭were‬‭run,‬
                 ‭and‬ ‭the‬ ‭identity‬ ‭of‬ ‭the‬ ‭participants‬ ‭on‬ ‭which‬ ‭they‬ ‭were‬ ‭run‬ ‭as‬ ‭well‬ ‭as‬ ‭Google’s‬ ‭conclusions‬
                  ‭regarding‬ ‭the‬ ‭results‬ ‭of‬ ‭those‬ ‭experiments.”‬ ‭This‬ ‭topic‬ ‭purports‬ ‭to‬ ‭require‬ ‭Google‬ ‭to‬ ‭testify‬
                   ‭regarding‬ ‭every‬ ‭single‬ ‭experiment‬ ‭Google‬ ‭has‬ ‭ever‬ ‭run‬ ‭and‬ ‭to‬ ‭investigate‬ ‭and‬ ‭inventory‬ ‭a‬
                    ‭massive amount of information regarding every single experiment.‬

                 ‭Other‬‭topics‬‭are‬‭so‬‭vague‬‭they‬‭are‬‭impossible‬‭to‬‭understand‬‭or‬‭begin‬‭to‬‭prepare‬‭a‬‭witness‬
 o‭ n.‬ ‭For‬ ‭example,‬ ‭Topic‬ ‭31:‬ ‭“The‬ ‭similarities‬ ‭and‬ ‭differences‬ ‭between‬ ‭Ad‬ ‭Tech‬ ‭Auction‬
  ‭Mechanics‬ ‭(and‬ ‭any‬ ‭variants,‬ ‭predecessors,‬ ‭and‬ ‭successors‬ ‭thereof),‬ ‭as‬ ‭well‬ ‭as‬ ‭the‬ ‭interaction‬
   ‭among‬ ‭Your‬ ‭Ad‬ ‭Tech‬ ‭Auction‬ ‭Mechanics‬ ‭and‬ ‭how‬ ‭programs‬ ‭or‬ ‭features‬ ‭of‬ ‭Your‬ ‭Ad‬ ‭Tech‬
    ‭Auction‬ ‭Mechanics‬ ‭operated‬ ‭in‬ ‭conjunction‬ ‭with‬ ‭or‬ ‭relation‬ ‭to‬ ‭one‬ ‭another.”‬ ‭It‬ ‭is‬ ‭completely‬
     ‭unclear‬ ‭how‬ ‭Google‬ ‭could‬ ‭begin‬ ‭to‬ ‭prepare‬ ‭a‬ ‭witness‬ ‭on‬ ‭unspecified‬ ‭“similarities”‬ ‭or‬
      ‭“differences”‬‭between‬‭various‬‭Auction‬‭Mechanics‬‭(some‬‭of‬‭which‬ ‭operated‬‭in‬‭connection‬‭with‬
       ‭different‬ ‭products,‬ ‭at‬ ‭different‬ ‭times).‬ ‭Nor‬ ‭is‬ ‭it‬ ‭readily‬ ‭apparent‬ ‭what‬ ‭Plaintiffs‬ ‭have‬ ‭in‬ ‭mind‬
        ‭with respect to “interaction among” such mechanics.‬

           ‭These are but a few examples of the problems that infect the entirety of the Notice.‬

            ‭It‬ ‭is‬ ‭unreasonable‬ ‭to‬ ‭expect‬ ‭Google‬‭to‬‭parse‬‭and‬‭slog‬‭through‬‭the‬‭entirety‬‭of‬‭the‬‭Notice‬
 a‭ nd‬ ‭provide‬ ‭a‬ ‭detailed‬ ‭response‬ ‭to‬ ‭each‬ ‭Topic,‬ ‭particularly‬ ‭on‬ ‭the‬ ‭timeline‬ ‭that‬ ‭Plaintiffs‬ ‭are‬
  ‭demanding.‬ ‭Moreover,‬ ‭the‬ ‭exercise‬ ‭would‬ ‭be‬ ‭unfair‬ ‭given‬ ‭the‬ ‭sheer‬ ‭breadth‬ ‭of‬ ‭the‬ ‭Notice.‬
   ‭Google‬‭should‬‭not‬‭be‬‭expected‬‭to,‬‭and‬‭cannot‬‭reasonably,‬‭prepare‬‭a‬‭witness‬‭on‬‭the‬‭entirety‬‭of‬‭the‬
    ‭Notice (nor any substantial portion of the Notice) within any reasonable time frame.‬

           ‭Additionally,‬ ‭we‬ ‭note‬‭that‬‭many‬‭of‬‭the‬‭topics‬‭in‬‭Plaintiffs’‬‭Notice‬‭were‬‭already‬‭covered‬
 i‭n‬ ‭30(b)(6)‬ ‭testimony‬ ‭and/or‬ ‭written‬ ‭responses‬ ‭as‬ ‭part‬ ‭of‬ ‭the‬ ‭EDVA‬ ‭case‬ ‭to‬ ‭which‬ ‭you‬ ‭have‬
  ‭access and/or we are willing to make available. In particular:‬

      ‭●‬ ‭Financial‬ ‭topics:‬ ‭Google‬ ‭provided‬ ‭a‬ ‭live‬ ‭witness‬ ‭and‬ ‭written‬ ‭responses‬ ‭on‬ ‭numerous‬
          ‭financial and accounting topics, which should be sufficient.‬
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     ‭●‬ ‭Long-range‬‭plans‬‭and‬‭forecasts‬‭for‬‭AdX,‬‭AdSense,‬‭AFC,‬‭DFP,‬‭GAM,‬‭GDN,‬‭and‬‭DV360‬
         ‭and successor and predecessor products and services from 2020 to the present.‬

     ‭●‬ ‭Use of results from Ariane and RASTA by Google’s employees and executives.‬

     ‭●‬ ‭The definitions of fields and values in certain data sets produced by Google.‬

     ‭●‬ ‭The Header Bidding Monitor datasets produced by Google.‬

     ‭●‬ ‭How‬ ‭data‬ ‭is‬ ‭passed,‬ ‭shared,‬‭or‬‭exchanged‬‭among‬‭or‬‭between‬‭Google‬‭Ads,‬‭DoubleClick‬
         ‭for Publishers (DFP) and AdX.‬

     ‭●‬ ‭From‬ ‭January‬ ‭1,‬ ‭2016‬ ‭to‬ ‭the‬ ‭present,‬ ‭identification‬ ‭and‬ ‭descriptions‬ ‭of‬ ‭any‬ ‭datasets‬
          ‭accessed‬‭by‬‭the‬‭following‬‭products:‬‭Google‬‭Ads,‬‭DoubleClick‬‭for‬‭Publishers‬‭(DFP),‬‭and‬
         ‭AdX.‬

        ‭ e‬‭do‬‭not‬‭believe‬‭it‬‭is‬‭necessary‬‭or‬‭proportional‬‭to‬‭the‬‭needs‬‭of‬‭the‬‭case‬‭to‬‭demand‬‭that‬
        W
 ‭Google provide a second 30(b)(6) witness to testify on these overlapping topics.‬

                ‭We‬‭propose‬‭two‬‭potential‬‭paths‬‭forward.‬ ‭As‬‭one‬‭option,‬‭in‬‭an‬‭effort‬‭to‬‭compromise‬‭and‬
 t‭o‬‭streamline‬‭and‬‭accelerate‬‭the‬‭actual‬‭taking‬‭of‬‭testimony‬‭(rather‬‭than‬‭litigation‬‭about‬‭the‬‭scope‬
  ‭of‬ ‭such‬ ‭testimony),‬ ‭Google‬ ‭would‬ ‭propose‬ ‭to‬ ‭designate‬ ‭30(b)(6)‬ ‭witnesses‬ ‭on‬ ‭the‬ ‭following‬
   ‭high-level‬‭topics‬‭(in‬‭addition‬‭to‬‭the‬‭offer‬‭of‬‭testimony‬‭and‬‭written‬‭responses‬‭that‬‭Google‬‭made‬‭in‬
    ‭response‬ ‭to‬ ‭Topics‬ ‭1-20).‬ ‭This‬ ‭offer‬ ‭would‬ ‭be‬ ‭conditional‬ ‭upon‬ ‭the‬ ‭testimony‬ ‭satisfying‬ ‭the‬
     ‭entirety‬ ‭of‬‭Google’s‬‭obligations‬‭to‬‭provide‬‭30(b)(6)‬‭testimony‬‭and‬‭upon‬‭each‬‭deposition‬‭lasting‬
      ‭no‬ ‭longer‬ ‭than‬ ‭7‬ ‭hours‬ ‭on‬ ‭the‬ ‭record.‬ ‭Subject‬ ‭to‬ ‭these‬ ‭terms,‬ ‭Google‬ ‭is‬ ‭willing‬ ‭to‬ ‭provide‬
       ‭witnesses to testify regarding:‬

     ‭●‬ ‭The‬‭operation,‬‭design,‬‭and‬‭expected‬‭benefits‬‭of‬‭Dynamic‬‭Allocation,‬‭Enhanced‬‭Dynamic‬
          ‭Allocation,‬ ‭Reserve‬ ‭Price‬ ‭Optimization,‬ ‭Dynamic‬ ‭Revenue‬ ‭Share,‬ ‭and‬‭Uniform‬‭Pricing‬
           ‭Rules,‬‭as‬‭well‬‭as‬‭the‬‭design‬‭the‬‭Google‬‭AdX‬‭auction‬‭from‬‭2012-2020‬‭(‬‭e.g.‬‭,‬‭first-price‬‭vs.‬
         ‭second-price).‬
     ‭●‬ ‭The‬ ‭operation,‬ ‭design,‬ ‭and‬ ‭expected‬ ‭benefits‬ ‭of‬ ‭Bernanke,‬ ‭Poirot,‬ ‭Elmo,‬ ‭AwBid,‬ ‭and‬
         ‭Google Smart Bidding as applied to display ads.‬
     ‭●‬ ‭Additionally,‬ ‭Google‬ ‭may‬ ‭be‬ ‭willing‬ ‭to‬ ‭consider‬ ‭offering‬ ‭a‬ ‭30(b)(6)‬ ‭witness‬ ‭to‬ ‭testify‬
          ‭regarding‬‭the‬‭alleged‬‭Google‬‭public‬‭statements‬‭specifically‬‭identified‬‭in‬‭Plaintiffs’‬‭Fourth‬
         ‭Amended Complaint,‬‭i.e‬‭.:‬
               ‭○‬ ‭Scott‬ ‭Spencer’s‬ ‭2010‬ ‭statement‬ ‭that‬ ‭“AdX‬ ‭is‬ ‭a‬ ‭second‬ ‭price‬ ‭auction‬ ‭with‬
                    ‭minimum‬ ‭CPMs‬ ‭set‬ ‭by‬ ‭the‬ ‭publisher”‬ ‭and‬ ‭“this‬ ‭is‬ ‭the‬ ‭most‬ ‭efficient‬ ‭auction‬
                     ‭model.”‬
               ‭○‬ ‭2015 statement attributed to Andrea Faville in Digiday article‬
               ‭○‬ ‭May 12, 2016 blog post regarding Reserve Price Optimization‬
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                                                                                                              ‭March 20, 2024‬
                                                                                                                       ‭Page‬‭5‬

                ‭○‬ ‭March 2019 blog post regarding Unified First Price Auction‬
                ‭○‬ ‭Google‬ ‭website‬ ‭statement‬ ‭regarding‬ ‭Open‬ ‭Bidding‬ ‭(“All‬ ‭participants‬ ‭in‬ ‭the‬
                     ‭unified‬ ‭auction,‬ ‭including‬ ‭Ad‬ ‭Exchange‬ ‭and‬ ‭third-party‬ ‭exchanges,‬ ‭compete‬
                      ‭equally‬ ‭for‬ ‭each‬ ‭impression‬ ‭on‬ ‭a‬ ‭net‬ ‭basis.‬ ‭Each‬ ‭exchange‬‭runs‬‭its‬‭own‬‭auction‬
                       ‭independently and then submits their bid into the unified auction.”)‬
                ‭○‬ ‭Google’s Privacy Policy‬
           ‭ owever,‬ ‭before‬ ‭Google‬ ‭can‬ ‭agree‬ ‭to‬ ‭provide‬ ‭any‬ ‭such‬ ‭testimony,‬ ‭Google‬ ‭needs‬ ‭to‬
           H
 ‭understand‬ ‭what‬ ‭types‬ ‭of‬ ‭information‬ ‭regarding‬ ‭these‬ ‭statements‬ ‭Plaintiffs‬ ‭are‬ ‭seeking.‬ ‭The‬
  ‭contents‬ ‭of‬ ‭the‬ ‭statements‬ ‭speak‬ ‭for‬ ‭themselves,‬ ‭so‬ ‭Google‬ ‭struggles‬ ‭to‬ ‭understand‬ ‭what‬
   ‭additional relevant information a 30(b)(6) witness could or should be prepared to provide.‬

               ‭Alternatively,‬ ‭if‬‭this‬‭offer‬‭is‬‭not‬‭satisfactory‬‭to‬‭Plaintiffs,‬‭Google‬‭suggests‬‭that‬‭Plaintiffs‬
 i‭dentify‬‭no‬‭more‬‭than‬‭six‬‭targeted,‬‭relevant,‬‭and‬‭reasonably‬‭narrow‬‭topics‬‭(including‬‭subparts)‬‭in‬
  ‭the‬‭existing‬‭Notice‬‭as‬‭the‬‭most‬‭important‬‭topics‬‭and‬‭the‬‭topics‬‭over‬‭which‬‭Plaintiffs‬‭would‬‭like‬
   ‭to‬‭meaningfully‬‭meet‬‭and‬‭confer.‬ ‭Google‬‭again‬‭requests‬‭that‬‭Plaintiffs‬‭consider‬‭whether‬‭any‬‭of‬
    ‭the‬ ‭topics‬ ‭in‬ ‭the‬ ‭Notice‬ ‭can‬ ‭be‬ ‭clarified‬ ‭or‬ ‭narrowed,‬ ‭in‬ ‭writing,‬ ‭in‬ ‭advance‬ ‭of‬ ‭any‬ ‭meet‬ ‭and‬
     ‭confer.‬

         ‭If‬ ‭Plaintiffs‬ ‭decline‬ ‭both‬ ‭of‬ ‭these‬ ‭options‬ ‭and‬ ‭fail‬ ‭to‬ ‭offer‬ ‭any‬ ‭constructive‬ ‭alternative‬
 ‭suggestions, Google will move for a protective order.‬



                                                                       ‭Sincerely,‬

                                                                       ‭/s/ Robert J. McCallum‬

                                                                       ‭Robert J. McCallum‬
